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EXHIBIT “C”
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| : . AbD
2b 7 rath Prison System

CFCF O
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Hoc O
Inmate Grievance Form " PICC ef
Check box only if grievance is regarding Medical Services ey &
Name __pot) he Wav ¢ Se. Housing Unit Ga Creu i 8
Intake Number__85..3 “J O3- Police Photo Number__ 55-3 YO 2

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Description of Grievance, Incident or Problem
(include date and time of incident)

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‘Action Requested by Inmate:

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See: Continuation of Grievance -Page2 Yes O No 0

Describe how and when you tried to resolve-this Grievance informally.

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—turowNant, sy. Gr & MA KD  DS>TAFE
Date that youare-depositing this Grevance ina grievance box: Y~jJ- {4

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—/ Se _> 9-/7-1Z

_ Hignature of Grievant) ° _ (Date)

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